      Case 4:24-cv-00213-P Document 3 Filed 03/07/24                Page 1 of 4 PageID 48



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 CHAMBER OF COMMERCE OF
 THE UNITED STATES OF
 AMERICA; FORT WORTH
 CHAMBER OF COMMERCE;
 LONGVIEW CHAMBER OF
 COMMERCE; AMERICAN
 BANKERS ASSOCIATION;                                  Case No. 4:24-CV-213
 CONSUMER BANKERS
 ASSOCIATION; and TEXAS
 ASSOCIATION OF BUSINESS,

                        Plaintiffs,

 v.

 CONSUMER FINANCIAL PROTECTION
 BUREAU; and ROHIT CHOPRA, in his
 official capacity as Director of the Consumer
 Financial Protection Bureau,

                        Defendants.




               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs respectfully move the Court for a preliminary injunction enjoining the

Consumer Financial Protection Bureau and Director Rohit Chopra from enforcing, applying, or

implementing the March 5, 2024 final rule regarding Credit Card Penalty Fees. See Credit Card

Penalty Fees (Regulation Z) (released Mar. 5, 2024), https://files.consumerfinance.gov/f/

documents/cfpb_credit-card-penalty-fees_final-rule_2024-01.pdf. As set forth in the

accompanying brief in support, Plaintiffs are likely to prevail on the merits; Plaintiffs and their

members will suffer irreparable harm absent the requested injunctive relief; and the balance of

equities and public interest considerations favor an order of preliminary injunction.
    Case 4:24-cv-00213-P Document 3 Filed 03/07/24                  Page 2 of 4 PageID 49



       Further, expedited relief is necessary because the final rule is set to take effect sixty days

after its publication such that credit card issuers must begin irreparably complying with its

dictates within days.

       WHEREFORE, for the reasons set forth in the accompanying brief, Plaintiffs respectfully

request that the Court issue a preliminary injunction enjoining the Defendants from enforcing,

applying, or implementing the final rule against Plaintiffs members anywhere within the

Bureau’s jurisdiction.


Dated: March 7, 2024                                  Respectfully submitted,


                                                       /s/ Michael Murray
                                                      Michael Murray
                                                      D.C. Bar No. 1001680
                                                      Application for pro hac vice forthcoming
                                                      michaelmurray@paulhastings.com
                                                      Tor Tarantola
                                                      D.C. Bar No. 1738602
                                                      Application for pro hac vice forthcoming
                                                      tortarantola@paulhastings.com
                                                      PAUL HASTINGS LLP
                                                      2050 M Street NW
                                                      Washington, DC 20036
                                                      (202) 551-1730

                                                       /s/ Derek Carson
                                                      Philip Vickers
                                                      Texas Bar No. 24051699
                                                      pvickers@canteyhanger.com
                                                      Derek Carson
                                                      Texas Bar No. 24085240
                                                      dcarson@canteyhanger.com
                                                      CANTEY HANGER LLP
                                                      600 West 6th Street, Suite 300
                                                      Fort Worth, TX 76102
                                                      (817) 877-2800

                                                      Attorneys for Plaintiffs
Case 4:24-cv-00213-P Document 3 Filed 03/07/24   Page 3 of 4 PageID 50



                                     Thomas Pinder
                                     D.C. Bar No. 451114
                                     Application for pro hac vice forthcoming
                                     tpinder@aba.com
                                     Andrew Doersam
                                     D.C. Bar No. 1779883
                                     Application for pro hac vice forthcoming
                                     adoersam@aba.com
                                     AMERICAN BANKERS ASSOCIATION
                                     1333 New Hampshire Ave. NW
                                     Washington, DC 20036

                                     Attorneys for Plaintiff American Bankers
                                     Association


                                     Jennifer B. Dickey
                                     D.C. Bar No. 1017247
                                     Application for pro hac vice forthcoming
                                     Jdickey@uschamber.com
                                     Maria C. Monaghan
                                     D.C. Bar No. 90002227
                                     Application for pro hac vice forthcoming
                                     mmonaghan@uschamber.com
                                     U.S. CHAMBER LITIGATION CENTER
                                     1615 H Street NW
                                     Washington, DC 20062

                                     Attorneys for Plaintiff Chamber of
                                     Commerce of the United States of America
    Case 4:24-cv-00213-P Document 3 Filed 03/07/24                 Page 4 of 4 PageID 51



                             CERTIFICATE OF CONFERENCE

       I hereby certify that on March 7, 2024, the undersigned spoke by phone with George

Padis, Deputy Civil Chief for the United States Attorney’s Office, Northern District of Texas,

regarding the relief requested in this motion. Mr. Padis advised me that he will route the request

to the appropriate person to speak on behalf of the Consumer Financial Protection Bureau and

that he or that person will provide the government’s position. Plaintiffs will supplement this

certificate of conference accordingly.

                                                      /s/ Derek Carson
                                                     Derek Carson




                                CERTIFICATE OF SERVICE

       I certify that on March 7, 2024, counsel for Plaintiffs notified counsel for Defendants of

the foregoing motion and will provide a courtesy copy upon filing, including an email copy to

Mr. Padis.


                                                      /s/ Derek Carson
                                                     Derek Carson
